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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 19-627V
                                      Filed: October 9, 2019
                                          UNPUBLISHED


 TYLER ANTHONY THACKER,

                         Petitioner,                          Special Processing Unit (SPU);
 v.                                                           Ruling on Entitlement; Concession;
                                                              Table Injury; Human Papillomavirus
 SECRETARY OF HEALTH AND                                      (HPV) Vaccine; Vasovagal Syncope
 HUMAN SERVICES,

                        Respondent.


Henry Domenick Acciani, O’Connor, Acciani & Levy, Cincinnati, OH, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.

                                    RULING ON ENTITLEMENT 1

Corcoran, Chief Special Master:

       On April 29, 2019, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that he suffered vasovagal syncope as the result of a human
papilloma quadrivalent virus (HPV) vaccination administered on April 30, 2016. Petition
at 1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

1 The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This

means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for

ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On October 8, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent indicates that petitioner’s onset of vasovagal syncope
occurred within one hour of his HPV vaccination and there is no other apparent
alternative cause. Id. at 3-4. Respondent further agrees that petitioner experienced the
residual effects of his condition for more than six months and has met the statutory
requirements for entitlement to compensation under the Vaccine Act. Id at 4.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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